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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 THE NEW YORK TIMES COMPANY,                        Civil Action No. 1:23-cv-11195-SHS

                             Plaintiff,             Hon. Sidney H. Stein

           v.                                       ORAL ARGUMENT REQUESTED

 MICROSOFT CORPORATION, OPENAI,
 INC., OPENAI LP, OPENAI GP, LLC,
 OPENAI, LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                              Defendants.

 DAILY NEWS, LP; CHICAGO TRIBUNE                    Civil Action No. 1:24-cv-03285-SHS
 COMPANY, LLC; ORLANDO SENTINEL
 COMMUNICATIONS COMPANY, LLC;                       Hon. Sidney H. Stein
 SUN-SENTINEL COMPANY, LLC; SAN                     ORAL ARGUMENT REQUESTED
 JOSE MERCURY-NEWS, LLC; DP MEDIA
 NETWORK, LLC; ORB PUBLISHING, LLC;
 AND NORTHWEST PUBLICATIONS, LLC,

                              Plaintiffs,

           v.

 MICROSOFT CORPORATION, OPENAI,
 INC., OPENAI LP, OPENAI GP, LLC,
 OPENAI, LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                              Defendants.


                NOTICE OF MOTION AND MOTION TO CONSOLIDATE


          PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law and

Declaration of Paven Malhotra, the undersigned hereby moves this Court on behalf of

Defendants OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC, OpenAI OpCo LLC,

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OpenAI Global LLC, OAI Corporation, LLC, and OpenAI Holdings, LLC (collectively,

“OpenAI”), before the Honorable Sidney H. Stein in Courtroom 23A of the United States

District Court for the Southern District of New York, Daniel Patrick Moynihan Courthouse, 500

Pearl Street, New York, New York, 10007, for an order pursuant to Federal Rule of Civil

Procedure 42(a) consolidating the two above-captioned actions for discovery and pretrial

purposes, with the consolidated action proceeding on the later case schedule in Daily News, LP v.

Microsoft Corp., Case No. 1:24-cv-03285-SHS (S.D.N.Y.).




                                                   KEKER, VAN NEST & PETERS LLP
Dated: June 13, 2024

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                                                   GLOBAL LLC, OAI CORPORATION,
                                                   LLC, OPENAI HOLDINGS, LLC


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Dated: June 13, 2024                    LATHAM & WATKINS LLP



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